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   IT IS ORDERED as set forth below:



   Date: May 12, 2022
                                                            _________________________________

                                                                      Barbara Ellis-Monro
                                                                 U.S. Bankruptcy Court Judge

 ________________________________________________________________



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:

 KELVIN BERNARD JOHNSON and TRACEY                              CASE NO. 19-51667-BEM
 ANN JOHNSON,

          Debtors.
                                                                CHAPTER 7

 S. GREGORY HAYS, Chapter 7 Trustee, for
 the Estate of Kelvin Bernard Johnson and
 Tracey Ann Johnson,

          Plaintiff,
                                                                ADVERSARY PROCEEDING NO.
 v.                                                             20-6026-BEM
 NEW DAY FINANCIAL, LLC,

          Defendant.

                                            ORDER

               On March 10, 2020, Plaintiff requested entry of default, and default was entered.

[Doc. 4]. There has been no further activity in this proceeding. However, on October 22, 2021,

Plaintiff filed an interim report in Debtors’ bankruptcy case that included the following statements:
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               2/3/2020 - The Trustee has identified an attestation issue with the
               first position security deed on Debtors’ home and has filed adversary
               # 20-06026. If the Trustee is successful in the adversary, the Trustee
               intends to sell the real property located at 4815 Village Square NW,
               Acworth, GA 30102 free and clear of New Day Financial's lien.

               6/30/2021 - Adversary outcome is contingent on outcome of case
               with similar facts in another matter. Trustee will act accordingly
               when the other matter is resolved.

[Case No. 19-51667 Doc. 34 at 2]. Pursuant to the Local Bankruptcy Rules, the Court may dismiss

an adversary proceeding for want of prosecution if it “has been pending in the Bankruptcy Court

for more than six months without any substantial proceedings of record having been taken[.]” BLR

7041-1(a)(3). Given the statements in the interim report, it is

               ORDERED that Plaintiff shall file a status report or take some other action to

advance this proceeding not later than August 12, 2022. Failure to comply may result in dismissal

under BLR 7041-1 without further notice or hearing.

                                        END OF ORDER




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